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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,                   Case No. 1:21-cr-00495-ABJ

         v.                                    DEFENDANT DANIEL GRAY’S
                                               NOTICE OF ALTERNATIVE
   DANIEL GRAY,                                PERPETRATOR DEFENSE
  Defendant.



        DEFENDANT DANIEL GRAY’S NOTICE OF ALTERNATIVE
                    PERPETRATOR DEFENSE
                                  (PIPE BOMBS)
         (Motion and Memorandum of Points and Authorities in One)
NOW COMES Defendant Daniel Gray, by and through counsel, who gives

NOTICE of his intent to present an alternative perpetrator defense regarding the

short (less than 6 hour) recess of Congress which occurred on Jan. 6, 2021.

      The Superseding Indictment (ECF #25) contains at least four of nine counts

(#1, 2, 5, and 7) which falsely accuse defendant Gray of disrupting proceedings of

Congress by disorderly conduct or obstruction. At trial Gray will show these

allegations are false, as nothing done by Daniel Gray on Jan. 6 caused Congress to

go into its brief recess; and in fact Congress recessed due to reports of pipe bombs

near the Capitol; not due to Gray or even other protestors at the Capitol.
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        Indeed the first reports of Congressional representatives evacuating the

Capitol buildings came at 1:19 pm on Jan. 6, when Paul Bedard of the Washington

Times tweeted that some of the U.S. Capitol buildings were being evacuated. At

1:17 pm, CQ Roll Call reporter Chris Marquette also tweeted this news. Vice

President-Elect Kamala Harris was evacuated out of the DNC headquarters by the

Secret Service at 1:14 p.m., due to pipe bombs, not Stop-the-Steal protestors.

        Significantly, protestors did not begin breaching the Capitol until after

proceedings in Congress were effectively halted. Indeed the first protestor who

entered the Capitol did so around 2:12 pm (an hour after Kamala Harris was

evacuated), and it was several minutes later that dozens of protestors began

pouring into entry areas. At 2:13 p.m., Vice President Pence was removed from

the Senate chamber to a nearby office by his lead Secret Service agent, Tim

Giebels and the Senate was gaveled into recess. By the time protestors gathered in

large numbers in the Capitol Rotunda area, both houses of Congress were in

recess; due to reports of pipe bombs. 1


Perhaps seeking to misdirect attention away from the pipe bombs which really
caused the disruption of Congress, the government’s indictments conveniently
place protestors in the Capitol before they arrived.



1
 See Jim Hoft, “IT WAS ALL A LIE: Congress Was Evacuated on Jan. 6 Due to Pipe Bomb Threat — Not Because of
Trump Supporters Walking Halls,” The Gateway Pundit, July 16, 2021,
https://www.thegatewaypundit.com/2021/07/lie-congress-evacuated-jan-6-due-pipe-bomb-threat-not-trump-
supporters-walking-halls/ (accessed 10/15/2022).
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        The Department of Justice has filed hundreds of indictments and information

relating to the Jan. 6 Capitol protests. Curiously, the government’s Statements of

Facts have tended to place protestors inside the Capitol before they actually arrived

while placing the recess of Congress later than it actually happened:


          shortly around 2:00 p.m., individuals in the crowd forced entry
          into the U.S. Capitol, including by breaking windows and by
          assaulting members of the U.S. Capitol Police, as others in the crow
          encouraged and assisted those acts.
                 Shortly thereafter, at approximately 2:20 p.m. members of
          the United States House of Representatives and United States
          Senate, including the President of the Senate, Vice President
          Mike Pence, were instructed to—and did—evacuate the chambers.

Government’s Statement of Facts, ECF #1, filed 5/17/2021, Page 1.

        These same assertions are made in dozens of Statements of Facts filed by the

United States in Jan. 6 cases.

        Yet this government narrative overstates how long Congress was in session,

by several minutes (official records say Congress recessed at 2:18; but evacuations

had begun at least ten minutes before that). 2 And this narrative also understates

how long it took protestors to breach the Capitol—by more than ten minutes.

      Why does the United States place protestors in the Capitol before they
arrived while simultaneously identifying Congress’s moment of recess after it
actually occurred? Because the DOJ’s narrative is ruined when the actual times
are exposed.

2
 Jenni Fink, “Capitol Riot Timeline: From Trump's First Tweet, Speech to Biden's Certification,” Newsweek, Jan. 6,
2022, https://www.newsweek.com/jan-6-capitol-riot-timeline-trumps-first-tweet-speech-bidens-certification-
1665436 (accessed 10/15/2022).
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    Gray submits the following points, which will be expanded below:

    1. The laws and provisions of the Constitution governing the processing of

        electoral college vote certification do not show that electoral college vote

        counting is some type of a sacred proceeding which cannot be contested,

        halted, debated or questioned. On the contrary, the law allows—and

        Congress expected and scheduled for—protests, objections, delays, debates

        and ultimate resolution on later dates regarding votes from problematic

        states. 3

    2. Congress was not actually counting any votes at the time that Congress was

        gaveled into recess briefly on Jan. 6. Rather, Congress had adjourned for

        arguments and debates in both chambers regarding questions about the 2020

        election.

    3. Vice President Pence, in his famous letter to Congress describing his actions

        on January 6, described the electoral college certification as “largely

        ceremonial”—indicating the certification was hardly a proceeding whose

        disruption might constitute “obstruction.”




3
 Just before the recess in the Senate, Senator Lankford was speaking on the floor of the Senate, saying there were
such serious questions regarding the 2020 election that they demanded a 10-day delay in electoral vote counting.
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    4. The recess (or recesses, as there were more than one) called by Congress, as

       a matter of law, were not predicated on the presence of peaceful protestors

       like Gray in the halls of the Capitol.

    5. In fact, the recesses began to be called due to reports of the discovery of

       bombs at the RNC and DNC headquarters nearby. 4

    6. Moreover, it seems probable that the pipe bombs were planted as some sort

       of undercover government operation. 5 (We have grounds to suspect this

       because the FBI and Secret Service have kept secret from the courts the most

       material facts regarding the pipe bombs, and even the fact that the Vice

       President-Elect was at DNC headquarters at the time.) 6


4
  See Julie Kelly, “The January 6 Pipe Bombs Look Like Another FBI Hoax,”
American Greatness, February 14, 2022. (“At 1:53 p.m., Representative Elaine
Luria tweeted that she “just had to evacuate my office because of a bomb reported
outside, while the President’s anarchists are trying to force their way into the
Capitol.”) https://amgreatness.com/2022/02/14/the-january-6-pipe-bombs-look-
like-another-fbi-hoax/ (accessed 10/12/2022). (Thus, Congressional representatives
were given the evacuation order—due to the pipe bombs—many minutes before
protestors could have disrupted any proceedings.)
5
  Google Earth Walkthrough Further Exposes FBI’s Jan 6 Pipe Bomb Hoax,
Revolver News, October 6, 2022, https://www.revolver.news/2022/10/google-
earth-walkthrough-further-exposes-jan-6-fbi-pipe-bomb-hoax/ (accessed
10/16/22). This detailed report delves deeply into these mysteries.
6
  Recent news stories have exposed the fact that there were two (2) surveillance
cameras filming the placement of the pipe bombs at the DNC; yet the government
has responded to FOIA requests with complete footage of the worst-angle camera
but only partial footage from the best-angle camera—selectively redacted to omit
any footage of the actual placement of the pipe bomb. And the Secret Service
apparently concealed the fact that Vice President-Elect Kamala Harris was at the
DNC at the time the pipe bomb was allegedly discovered (by a passerby who
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   7. It appears that at no time was a single breaching protestor even in the same

      room with a single member of Congress on Jan. 6.

   8. Above all, there is no suggestion that Gray’s actions or inactions on Jan. 6

      contributed anything at all to the under-6-hour recess of Congress. In fact,

      Gray did not enter the Capitol until almost 3:00 pm. and could not have

      disrupted anything.

LEGAL STANDARDS

GRAY HAS A CONSTITUTIONAL RIGHT TO PRESENT AN ALTERNATIVE
SUSPECT DEFENSE
    Daniel Gray has a right under the due process clause to present evidence that

an alternative source is responsible for the crimes Gray is accused of. See Kyles v.

Whitley, 514 U.S. 419, 446 (1995) (evidence of alternative suspects allows the

defense to attack “the reliability of the investigation” if it shows that investigators




reportedly noticed the object in a superficial glance!. This means that the Secret
Service somehow missed the object in their sweep while a casual pedestrian
reportedly noticed the bomb. See Jim Hoft, “Revolver News Report: FBI Is
Hiding Security Camera Video of Jan. 6 Pipe Bomber Planting Bomb at DNC
Headquarters,” The Gateway Pundit, August 4, 2022.
https://www.thegatewaypundit.com/2022/08/revolver-news-report-fbi-hiding-
security-camera-video-jan-6-pipe-bomber-planting-bomb-dnc-headquarters/
(accessed 10/12/2022). When the Secret Service finally revealed that Kamala
Harris was at the DNC headquarters rather than the Capitol at 1:00 pm on Jan. 6,
this necessitated a multi-million-dollar ‘do over’ of almost every grand jury
indictment filed in Jan. 6 cases to remove the false allegation that both the Vice
President and the Vice President-Elect were present in the Capitol on the afternoon
of Jan. 6.
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were less than energetic in exploring other potential suspects . . . After all, a

“common trial tactic of defense lawyers is to discredit the caliber of the

investigation or the decision to charge the defendant . . ..”); Trammell v. McKune,

485 F.3d 546, 552 (10th Cir. 2007) (suppressing evidence of alternative suspects

“could also have been used to cast doubt on police officers' decision to focus their

attention . . . on [the defendant] rather than” the other suspects).


The FBI and DOJ have overemphasized Jan. 6 protestors and neglected to
investigate the role of the pipe bombs.

      In Gray’s case it is obvious that government investigators have

deemphasized the role of the pipe bombs in order to emphasize the role of

protestors at the Capitol. The pipe bombs were discovered at 12:49 pm--an hour

and a half before protestors could have disrupted any proceedings at the Capitol.

And protestors barely arrived past the threshold when Congress recessed. Gray

didn’t allegedly enter the Capitol until after around 2:50, when there were no

proceedings whatsoever.


Accordingly, Gray has a right to discovery, and to introduce and examine
witnesses and evidence regarding the pipe bombs’ contribution to the
congressional recesses on Jan. 6.

      Thus, Gray has a right to disclosure of all communications between the

president of the Senate, the Secret Service, the speaker of the House, the Capitol

Police and the clerks of both houses of Congress regarding the role the pipe bombs
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played in the Jan. 6 disruption of Congress. (Gray will soon be filing a discovery

motion in this regard.) See, e.g., Smith v. Secretary of New Mexico Dep't of

Corrections, 50 F.3d 801, 829-30 (10th Cir.) (“Disclosure of [withheld police]

report would have alerted counsel to the existence of [alternative suspect's

bloodstained clothing in his trunk and permitted defense counsel] to have it

tested.”), cert. denied, 516 U.S. 905, 116 S. Ct. 272 (1995); Bowen v. Maynard,

799 F.2d 593, 612 (10th Cir.) (finding Brady violation where “in the hands of the

defense [suppressed evidence of alternative suspect] could have been used to

uncover other leads and defense theories,” including alternative suspect's motives

for murder, which were different than the State’s theory), cert. denied, 479 U.S.

962 (1986); People v. Jackson, 168 Misc. 2d 182, 186, 637 N.Y.S.2d 158, 161

(Sup. Ct. Bronx Co. 1995) (Brady violation where, inter alia, witness's suppressed

statements “give leads as to other possible perpetrators of the crime”); People v.

Lumpkins, 141 Misc. 2d 581, 588, 533 N.Y.S.2d 792, 795-96 (Sup. Ct. Kings Co.

1988) (Brady violation where detective did not investigate Crime Stoppers report

implicating alternative suspects, or try to find the two suspects named in it and did

not disclose the information to defendant: “It can hardly be doubted that the

requirement of due process underlying the Brady rule includes disclosure of

exculpatory leads. . . . Perhaps that is why the courts applying the Brady rule have
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spoken of 'exculpatory information'; 'exculpatory material'; and 'exculpatory

matter.’”) (citations omitted).




1:14 p.m.
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ACCORDINGLY, Defendant Daniel Gray will show at trial that pipe bombs at the

DNC and RNC headquarters contributed more to the brief halt in congressional

proceedings on Jan. 6 than the protestors. And Gray contributed nothing.

Respectfully submitted,
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 21, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                              Jacqueline N. Schesnol, Esq.
                              DOJ-USAO
                              United States Attorney's Office
                              40 North Central Avenue, Suite 1800
                              Phoenix, AZ 85004-4449
                              (602) 514-7689
                              jacqueline.schesnol@usdoj.gov



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                                                   John M. Pierce, Esq.
